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                      United States District Court
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

JOSHUA YARBROUGH,                        §
and MATT LOFLAND,                        §
                                         §
Individually and on Behalf of Others     §
Similarly Situated,                      §
                                         §     Civil Action 4:19-cv-905
        Plaintiffs,                      §
                                         §
vs.                                      §     JURY DEMANDED
                                         §
CSS CORP., and                           §
GLOW NETWORKS, INC.,                     §
                                         §
        Defendants.                      §

              PLAINTIFFS’ COMPLAINT AND JURY DEMAND

TO THE HONORABLE COURT:

I.      NATURE OF THIS ACTION

        1.    Plaintiffs Joshua Yarbrough and Matt Lofland (“Class

Representatives”) who worked for Defendants CSS Corp. and Glow Networks,

Inc. (jointly “Defendants”) bring this action to redress race discrimination and

retaliation for reporting and opposing race discrimination.

        2.    The Class Representatives bring this action on behalf of

themselves and all African Americans who were employed at Defendants for

unlawful discrimination in violation of 42 U.S.C. § 1981 (“Section 1981”)

against Defendants. The Class Representatives also assert violations on their


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own behalf for unlawful retaliation under Section 1981 for reporting and

opposing race discrimination.

      3.     The Class Representatives seek to represent African American

employees of Defendants who have been subjected to one or more aspects of

the systemic race discrimination described in this Complaint, including, but

not limited to: discriminatory policies, practices and procedures in selection,

promotion and advancement; disparate pay; differential treatment; and racial

hostility in the workplace. The systemic racial discrimination described in

this Complaint has been, and is, continuing in nature.

      4.     The Class Representatives are seeking, on behalf of themselves

and the class they seek to represent, declaratory and injunctive relief; back

pay; front pay; compensatory, nominal and punitive damages; and attorneys’

fees, costs and expenses to redress Defendants’ pervasive and discriminatory

employment policies, practices and procedures.

II.   JURISDICTION AND VENUE

      5.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

1343(a)(4) and 28 U.S.C. § 1331. This is a discrimination suit authorized and

instituted pursuant to the Civil Rights Act of 1866, 42 U.S.C. § 1981 (“Section

1981”).




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       6.    Venue is proper in the Eastern District of Texas pursuant to 28

U.S.C. §§ 1391(b)(1) and 1391(c) because Defendants are subject to personal

jurisdiction, and reside in Texas.

       7.    The Eastern District of Texas is the most logical forum in which

to litigate the claims of the Class Representatives and the proposed class in

this case. Plaintiffs worked at Defendants’ facility in Collin County.

Furthermore, the Class Representatives and many of the potential class

members reside in all areas of the Eastern District of Texas.

III.   PARTIES

       A.    Plaintiffs

       8.    Plaintiff Joshua Yarbrough is a citizen of the United States and a

resident of Texas.

       9.    Plaintiff Matt Lofland is a citizen of the United States and a

resident of Texas.

       B.    Defendants

       10.   CSS Corp. does business in the state of Texas but is not

registered with the Secretary of State of Texas. CSS Corp. may be served

with process by serving the Secretary of State of Texas who may then serve

CSS Corp. at its place of business: 1900 McCarthy Boulevard Suite # 210

Milpitas, California 95035.



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      11.    Glow Networks, Inc. is a Delaware corporation with its principal

place of business in Dallas, Texas. It may be served by serving its registered

agent Dev Sridharan at its registered address, 2140 Lake Park Blvd., Suite

303, Richardson, Texas 75080.

IV.   CLASS ACTION ALLEGATIONS

      A.     Class Definition

      12.    The Class Representatives seek to maintain claims on their own

behalf and on behalf of a class of current and former employees of

Defendants. Each of the Class Representatives is a member of a class.

      13.    One class consists of African Americans who are, or have been,

employed by Defendants and have experienced race discrimination at any

time during the applicable liability period or have experienced retaliation for

reporting or opposing race discrimination. Yarbrough, as Class

Representative, is representative of the class. Upon information and belief,

there are several hundred members of the proposed class.

      14.    Another class consists of persons who have opposed or reported

racial discrimination by Defendants and have experienced retaliation.

Lofland, as Class Representative, is representative of the class. Upon

information and belief, there are hundreds of members of the proposed class.




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      B.     Efficiency of Class Prosecution of Common Claim

      15.    Certification of a class of employees similarly situated to the

Class Representatives is the most efficient and economical means of resolving

the questions of law and fact which are common to the claims of the Class

Representatives and the proposed class. The individual claims of the Class

Representatives require resolution of the common question of whether

Defendants have engaged in a systemic pattern or practice of race

discrimination against African American employees or of retaliation for

reporting or opposing race discrimination. The Class Representatives seek

remedies to eliminate the adverse effects of such discrimination in their own

lives, careers and working conditions and in the lives, careers and working

conditions of the proposed class members, and to prevent continued racial

discrimination and retaliation in the future. The Class Representatives have

standing to seek such relief because of the adverse effect that such

discrimination has had on them individually, and on African Americans and

those who opposed or reported racial discrimination, generally.

      16.    To gain such relief for themselves, as well as for the putative

class members, the Class Representatives will first establish the existence of

systemic racial discrimination and retaliation as the premise for the relief

they seek. Without class certification, the same evidence and issues would be

subject to re-litigation in a multitude of individual lawsuits with an

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attendant risk of inconsistent adjudications and conflicting obligations.

Certification of the proposed class of African-Americans and those who have

reported or opposed racial discrimination who have been affected by these

common questions of law and fact is the most efficient and judicious means of

presenting the evidence and arguments necessary to resolve the questions for

the Class Representatives, the proposed class, and Defendants.

      17.    The Class Representatives’ individual and class claims are

premised upon the traditional bifurcated method of proof and trial for

disparate impact and systemic disparate treatment claims of the type at issue

in this case. A bifurcated method of proof and trial is the most efficient

method of resolving such common issues.

      C.     Numerosity and Impracticality of Joinder

      18.    The class which the Class Representatives seek to represent is

too numerous to make joinder practicable. The proposed class consists of

hundreds if not thousands, of current, former, and African American

employees and those who opposed or reported race discrimination during the

liability period.

      D.     Common Questions of Law and Fact

      19.    The prosecution of the claims of the Class Representatives will

require the adjudication of numerous questions of law and fact common to

both their individual claims and those of the putative class they seek to

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represent. The common questions of law include, inter alia, whether

Defendants have engaged in unlawful, systemic race discrimination and

retaliation in its selection, promotion, advancement, transfer, training, and

discipline policies, practices or procedures, and in the general terms and

conditions of work and employment; whether Defendants are liable for a

continuing systemic violation of Section 1981; and a determination of the

proper standards for proving a pattern or practice of discrimination or

retaliation by Defendants against its African American employees or those

who oppose or report racial discrimination. The common questions of fact

would include, inter alia: whether Defendants have, through its policies,

practices or procedures, (a) denied or delayed the promotion of African

Americans or those who opposed or reported racial discrimination; (b)

precluded African Americans from eligibility for promotions by denying them

training which employees who are not African American or those who did not

oppose or report racial discrimination are granted; (c) paid African Americans

or those who opposed or reported racial discrimination at a disparate level;

(d) subjected African Americans or those who opposed or reported racial

discrimination to differential treatment, including, but not limited to, less

preferable work assignments, inequitable evaluations and stricter

disciplinary policies, practices or procedures; and (e) subjected African



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Americans or those who opposed or reported racial discrimination to hostility

or a hostile work environment.

      20.    The employment policies, practices and procedures to which the

Plaintiffs and the class members are subject are set at Defendants’ corporate

level and apply universally to all class members throughout the world. These

employment policies, practices and procedures are not unique or limited to

any one department; rather, they apply to all departments, and, thus, affect

the Class Representatives and proposed class members in the same ways no

matter the district, division, or position in which they work.

      21.    Throughout the liability period, a disproportionately large

percentage of the managers and supervisors at Defendants have not been

African American or those who oppose or report race discrimination.

      22.    Discrimination in selection, promotion and advancement occurs

as a pattern and practice throughout all levels and all divisions of

Defendants. Selection, promotion, and advancement opportunities are driven

by personal familiarity, subjective decision-making, preselection and

interaction between non-African American managers, supervisors, and

subordinates and those who have not opposed or reported retaliation rather

than by merit or equality of opportunity. As a result, employees who are not

African American or who have not opposed or reported race discrimination

have advanced and continue to advance more rapidly to better and higher

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paying jobs than do African American employees or those who opposed or

reported racial discrimination.

      23.    Defendants’ policies, practices and procedures have had an

adverse impact on African Americans or those who opposed or reported racial

discrimination seeking selection for, or advancement to, better and higher

paying positions. In general, a higher level of job classification correlates with

a lower percentage of African American or those who opposed or reported

racial discrimination employees holding those positions.

      E.     Typicality of Claims and Relief Sought

      24.    The claims of the Class Representatives are typical of the claims

of the proposed class. The Class Representatives assert claims in each of the

categories of claims they asserted on behalf of the proposed classes. The relief

sought by the Class Representatives for race discrimination or those who

opposed or reported racial discrimination complained of herein is also typical

of the relief which is sought on behalf of the proposed classes.

      25.    The Class Representatives are, like the members of the proposed

classes, both employees who have worked for the Defendants during the

liability period.

      26.    Discrimination in selection, promotion, advancement, and

training affects the compensation of the Class Representatives and all the

class members in the same ways.

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      27.    Differential treatment between employees based on race or those

who opposed or reported racial discrimination occurs as a pattern and

practice throughout all levels and departments of Defendants. Defendants

predominantly hold African-American and those who opposed or reported

racial discrimination employees, including both the Class Representatives

and class members, to stricter standards than employees who are not

African-American or those who opposed or reported racial discrimination,

and, thus, African-American employees or those who opposed or reported

racial discrimination often receive lower performance appraisals than others

for performing at the same level. African American employees and those who

opposed or reported racial discrimination are also disciplined, formally and

informally, more frequently and severely than their counterparts who are not

African American. Additionally, employees who are not African American or

those who opposed or reported racial discrimination more often receive

preferable work assignments and other preferential treatment.

      28.    Discrimination in the form of a hostile work environment occurs

as a pattern and practice throughout all levels and departments of

Defendants and affects the Class Representatives and the members of the

class in the same ways. Supervisors and employees have made racially

hostile comments; harassed and intimidated African-American employees

and or those who opposed or reported racial discrimination; made it clear in

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various ways that they favor employees who are not African-Americans or

those who opposed or reported racial discrimination; and otherwise have

created a working environment hostile to African-American employees or

those who opposed or reported racial discrimination.

      29.    The Class Representatives, and other employees, have

complained to Defendants’ management and Human Resources about race

discrimination and a racially hostile work environment, as well as retaliation

for those who opposed or reported racial discrimination. Company

investigations into these complaints have been inadequate or superficial.

      30.    The Class Representatives and the class members have been

affected in the same ways by Defendants’ failure to implement adequate

procedures to detect, monitor, and correct this pattern and practice of

discrimination.

      31.    Defendants have failed to create adequate incentives for its

managers to comply with equal employment opportunity laws regarding each

of the employment policies, practices and procedures referenced in this

Complaint and have failed to discipline adequately its managers and other

employees when they violate the anti-discrimination and anti-retaliation

laws. These failures have affected the Class Representatives and the class

members in the same ways.



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      32.    The relief necessary to remedy the claims of the Class

Representatives is exactly the same as that necessary to remedy the claims of

the proposed class members in this case. The Class Representatives seek the

following relief for their individual claims and for those of the members of the

proposed class: (a) a declaratory judgment that Defendants have engaged in

systemic racial discrimination against African-American employees and those

who opposed or reported racial discrimination by limiting their ability to be

promoted to better and higher paying positions, limiting their employment

opportunities to lower and less desirable classifications, limiting their

training and transfer opportunities, exposing them to differential treatment,

and subjecting them to hostility at work; (b) a permanent injunction against

such continuing discriminatory or retaliatory conduct; (c) injunctive relief

which effects a restructuring of Defendants’ promotion, transfer, training,

performance evaluation, compensation, work environment, and discipline

policies, practices and procedures so that African-Americans or those who

opposed or reported racial discrimination will be able to compete fairly in the

future for promotions, transfers, and assignments to better and higher paying

classifications with terms and conditions of employment traditionally enjoyed

by other employees; (d) injunctive relief which effects a restructuring of the

Defendants’ workforce so that African-Americans or those who opposed or

reported racial discrimination are promoted into higher and better paying

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classifications which they would have held in the absence of Defendants’ past

racial discrimination or retaliation; (e) back pay, front pay, and other

equitable remedies necessary to make African-American employees and those

who opposed or reported racial discrimination whole from the Defendants’

past discrimination; (f) compensatory damages; (g) punitive and nominal

damages to prevent and deter Defendants from engaging in similar

discriminatory or retaliatory practices in the future; and (h) attorneys’ fees,

costs and expenses.

      F.     Adequacy of Representation

      33.    The Class Representatives’ interests are co-extensive with those

of the members of the proposed class which they seek to represent in this

case. The Class Representatives seek to remedy Defendants’ discriminatory

and retaliatory employment policies, practices and procedures so that African

Americans will no longer be prevented from advancing into higher paying

and more desirable positions, will not receive disparate pay and differential

treatment, and will not be subjected to racial hostility at work. The Class

Representatives are willing and able to represent the proposed class fairly

and vigorously as they pursue their similar individual claims in this action.

The Class Representatives have retained counsel who are qualified,

experienced, and able to conduct this litigation and to meet the time and

fiscal demands required to litigate an employment discrimination class action

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of this size and complexity. The combined interests, experience, and resources

of the Class Representatives and their counsel to litigate competently the

individual and class claims at issue in this case clearly satisfy the adequacy

of representation requirement of Federal Rule of Civil Procedure 23(a)(4).

V.    CLASS CLAIMS

      34.    The Class Representatives and the putative class they seek to

represent have been subjected to a systemic pattern and practice of race

discrimination or retaliation involving a battery of practices which have also

had an unlawful, disparate impact on them and their employment

opportunities. The discrimination includes adhering to a policy and practice

of restricting the promotion and advancement opportunities of African

American employees so that they remain in the lower classification and

compensation levels, as well as terminating African Americans because of

their race. Defendants in effect bar African Americans from better and higher

paying positions which have traditionally been held by other employees and

selectively terminate their employment. The systemic means of

accomplishing such racial gender stratification include, but are not limited to,

Defendants’ promotion, training and performance evaluation policies,

practices and procedures.

      35.    Defendants’ promotion, advancement, training, and performance

evaluation policies, practices and procedures incorporate the following

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discriminatory practices: (a) relying upon subjective judgments, procedures,

and criteria which permit and encourage the incorporation of racial

stereotypes and bias by Defendants’ predominately non-African-American

managerial and supervisory staff in making promotion, training, performance

evaluation, compensation, and termination decisions; (b) refusing or failing to

provide equal training opportunities to African-Americans; (c) refusing or

failing to provide African-Americans with opportunities to demonstrate their

qualifications for advancement; (d) refusing or failing to establish and follow

policies, practices, procedures, or criteria that reduce or eliminate disparate

impact or intentional racial bias; (e) using informal, subjective selection

methods which allow for rampant racial discrimination; (f) disqualifying

African-American employees for vacancies by unfairly disciplining them; (g)

discouraging applications and expressions of interest by African-Americans;

(h) penalizing employees for exercising the rights afforded to them by Section

1981; (i) subjecting African-Americans to racial hostility in the work

environment; and (j) selectively terminating the employment of African-

Americans.

      36.    Defendants’ promotion policies, practices and procedures have

had a disparate impact on the Class Representatives and the class members.

The policies, practices, and procedures are not valid, job-related, or justified

by business necessity. There are alternative objective and more valid

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selection procedures available to the Defendants that are more closely related

to the actual responsibilities of the positions, and which would have less of a

disparate impact on African Americans. However, the Defendants have failed

to use or have refused to use such alternative procedures.

      37.    Defendants’ promotion, training, performance evaluation,

compensation, and transfer policies, practices and procedures are intended to

have a disparate impact on the Class Representatives and the class they seek

to represent. The practices form a part of the Defendants’ overall pattern and

practice of keeping African Americans in the lower classifications which have

fewer desirable terms and conditions of employment and causing termination

of their employment.

      38.    Because of Defendants’ systemic pattern and practice of racial

discrimination, the Class Representatives and class they seek to represent

have been adversely affected and have experienced harm, including the loss

of compensation, wages, back pay, and employment benefits. This pattern

and practice of gender discrimination includes: being denied promotions in

favor of equally or less qualified non-African-American employees; being

denied training opportunities provided to non-African-American employees;

receiving lower performance appraisals for performing the same work at the

same level as non-African-American employees; being disciplined more

frequently and more severely than non-African-American employees,

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including being disciplined for engaging in behaviors for which non-African-

American employees are not disciplined; being subjected to a hostile work

environment; and being terminated.

      39.    The Class Representatives and the class they seek to represent

have been subjected to racial hostility or retaliation at work, both severe and

pervasive, which affects the terms and conditions of their employment. The

Defendants’ actions and inactions encourage this behavior by its non-African

American employees.

      40.    The individual Plaintiffs have no plain, adequate, or complete

remedy at law to redress the rampant and pervasive wrongs alleged herein,

and this suit is their only means of securing adequate relief. The Plaintiffs

are now suffering irreparable injury from Defendants’ unlawful policies,

practices and procedures as set forth herein, and will continue to suffer

unless those policies, practices and procedures are enjoined by this Court.

VI.   CAUSE OF ACTION (Section 1981)

      41.    Plaintiffs allege that Defendants have discriminated and

retaliated against the Class Representatives and all members of the proposed

class by treating them differently from and less preferably than similarly

situated non-African-American employees and subjecting them to

discriminatory denials of promotions, discriminatory denials of pay raises,

discriminatory performance evaluations, discriminatory subjection to

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disciplinary procedures, disparate terms and conditions of employment,

harassment, hostile work environments, termination, and other forms of

discrimination in violation of Section 1981.

      42.    Defendants’ conduct has been disparate, intentional, deliberate,

willful and conducted in callous disregard of the rights of the Class

Representatives and the members of the proposed class.

      43.    Defendants’ policies and practices have produced a disparate

impact against the Class Representatives and the class members with respect

to the terms and conditions of employment.

      44.    By reason of the continuous nature of Defendants’ discriminatory

conduct, persistent throughout the employment of the Class Representatives

and class members, the Class Representatives and class members are

entitled to application of the continuing violation doctrine to all of the

violations alleged herein.

      45.    By reason of the discrimination suffered at Defendants, the Class

Representatives and the members of the proposed class are entitled to all

legal and equitable remedies available under Section 1981.

                                   JURY DEMAND

      46.    The Class Representatives request a trial by jury to the extent

allowed by law.



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          WHEREFORE, the Class Representatives, on behalf of themselves and

the members of the class whom they seek to represent, request the following

relief:

          A. Certification of the case as a class action maintainable under Federal

Rules of Civil Procedure 23(a), (b)(2) or (b)(3), on behalf of the proposed

Plaintiff class, and designation of the Plaintiffs as representatives of this class

and their counsel of record as class counsel;

          B. Declaratory judgment that Defendants’ employment policies,

practices and/or procedures challenged herein are illegal and in violation of

Section 1981;

          C. A permanent injunction against Defendants and their partners,

officers, owners, agents, successors, employees and representatives and any

and all persons acting in concert with them, from engaging in any further

unlawful practices, policies, customs, usages, gender discrimination by the

Defendants as set forth herein;

          D. An Order requiring Defendants to initiate and implement programs

that (i) will provide equal employment opportunities for African-American

employees; (ii) will remedy the effects of the Defendants’ past and present

unlawful employment policies, practices or procedures; and (iii) will eliminate

the continuing effects of the discriminatory and retaliatory practices described.



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      E. An Order requiring the Defendants to initiate and implement systems

of assigning, training, transferring, compensating, and promoting African-

American employees in a non-discriminatory manner;

      F. An Order establishing a task force on equality and fairness to

determine the effectiveness of the programs described in (B) through (E) above,

which would provide for (i) monitoring, reporting, and retaining of jurisdiction

to ensure equal employment opportunity, (ii) the assurance that injunctive

relief is properly implemented, and (iii) a quarterly report setting forth

information relevant to the determination of the effectiveness of the programs

described in (B) through (E), above;

      G. An Order placing or restoring the Class Representatives and the class

members into those jobs they would now be occupying, but for Defendants’

discriminatory policies, practices or procedures;

      H. An Order directing Defendants to adjust the wage rates and benefits

for the Class Representatives and the class members to the level that they

would be enjoying but for the Defendants’ discriminatory policies, practices

and/or procedures;

      I. An award of back pay, front pay, lost benefits, preferential rights to

jobs and other damages for lost compensation and job benefits suffered by the

Class Representatives and the class members to be determined at trial;



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      J. Any other appropriate equitable relief to the Class Representatives

and proposed class members;

      K. An award of compensatory, nominal and punitive damages to

Plaintiffs;

      L. An award of litigation costs and expenses, including reasonable

attorneys’ fees, to the Plaintiffs and class members;

      M. Pre-judgment interest;

      N. Such other and further relief as the Court may deem just and proper;

and

      O. Retention of jurisdiction by the Court until such time as the Court is

satisfied that the Defendants have remedied the practices complained of

herein and are determined to be in full compliance with the law.

                                           Respectfully submitted,

                                           /s/ Brian Sanford
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